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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Criminal Action No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

         Plaintiff,
 v.

      1. MICHAEL AARON TEW;

      2. KIMBERLEY ANN TEW; and
        a/k/a Kimberley Vertanen

      3. JONATHAN K. YIOULOS,

         Defendants.


                                      MOTION TO RESTRICT


         The United States of America, through the undersigned Assistant United States Attorneys,

 respectfully moves to restrict the brief in support of this motion, Dkt. 120, the document at Dkt. 121

 as well as any order revealing the contents of that document for the reasons stated in the brief filed in

 support of this motion. The United States requests a “Level 1" Restriction, which would make the

 brief filed in support of this motion, Dkt. 120, the document at Dkt. 121 as well as any order revealing

 the contents of that document accessible by the court and all the parties.

                                        [continued on next page]




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 Respectfully submitted this 29th day of March, 2021.
                                                        MATTHEW T. KIRSCH
                                                        Acting United States Attorney
                                                        By: s/ Hetal J. Doshi
                                                        HETAL J. DOSHI
                                                        ANDREA SURRATT
                                                        Assistant United States Attorneys
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                                                               Andrea.Surratt@usdoj.gov




 I hereby certify that the foregoing pleading complies with the type-volume limitation set forth in the
 Court’s Practice Standard III(A)(1).

                                                s/ Hetal J. Doshi

 Pursuant to the Court’s Practice Standard III.C, the government notes that this motion tolls the
 speedy trial clock. 18 U.S.C. § 3161(h)(1)(D). The speedy trial clock was reset and started running
 on the indictment on February 11, 2021 as the last defendant appeared on February 10, 2021. See 18
 U.S.C. § 3161(h)(6); Dkt. 101. The speedy trial clock was then tolled on February 28, 2021, with the
 filing of the government’s motion concerning joint representation, but then started to run again on
 March 19, 2021. The Court has also, pursuant to a motion for an ends of justice continuance,
 ordered the exclusion of an additional 180 days. Dkt. 116. Twenty-seven days have elapsed on the
 speedy trial clock thus far.




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                                   CERTIFICATE OF SERVICE


        I hereby certify that on this 29th day of March, 2021, I electronically filed the foregoing
 MOTION TO RESTRICT with the Clerk of the Court using the CM/ECF system which will
 send notification of such filing to all counsel of record in this case.


                                                s/ Hetal J. Doshi
                                                Hetal J. Doshi
                                                U.S. Attorney’s Office




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